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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter 11

FTX TRADING LTD., et al., 1                                      Case No. 22-11068 (JTD)

         Debtors.                                                (Jointly Administered)

                                                                 Ref. Nos. 2239 & 2452



    DEBTORS’ REPLY IN SUPPORT OF MOTION OF DEBTORS FOR ENTRY OF AN
    ORDER AUTHORIZING AND APPROVING (I) GUIDELINES FOR THE SALE OR
    TRANSFER OF CERTAIN DIGITAL ASSETS, (II) THE SALE OR TRANSFER OF
     SUCH DIGITAL ASSETS IN ACCORDANCE WITH SUCH GUIDELINES FREE
     AND CLEAR OF ANY LIENS, CLAIMS, INTERESTS AND ENCUMBRANCES,
         (III) THE DEBTORS’ ENTRY INTO, AND PERFORMANCE UNDER,
       POSTPETITION HEDGING ARRANGEMENTS, INCLUDING GRANTING
       LIENS AND SUPERPRIORITY ADMINISTRATIVE EXPENSE CLAIMS IN
                CONNECTION THEREWITH AND (IV) THE DEBTORS
                      TO STAKE CERTAIN DIGITAL ASSETS

                     FTX Trading Ltd. and its affiliated debtors and debtors-in-possession (collectively,

the “Debtors”) hereby submit this reply (the “Reply”) in further support of the Motion of Debtors

for Entry of an Order Authorizing and Approving (i) Guidelines for the Sale or Transfer of Certain

Digital Assets, (ii) the Sale or Transfer of Such Digital Assets in Accordance with Such Guidelines

Free and Clear of Any Liens, Claims, Interests and Encumbrances, (iii) the Debtors’ Entry into,

and Performance Under, Postpetition Hedging Arrangements, Including Granting Liens and

Superpriority Administrative Expense Claims in Connection Therewith and (iv) the Debtors to

Stake Certain Digital Assets [D.I. 2239] (the “Motion”) 2 and in response to the objection to the


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     The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
     4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
     Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
     of such information may be obtained on the website of the Debtors’ claims and noticing agent at
     https://restructuring.ra.kroll.com/ftx. The principal place of business of Debtor Emergent Fidelity Technologies
     Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.



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Motion [D.I. 2452] (the “Objection”) filed by the United States Trustee for Regions Three and

Nine (the “U.S. Trustee”). For the reasons set forth below, the Objection should be overruled and

the Motion should be granted. In support of this Reply, the Debtors respectfully state as follows:

                                         Preliminary Statement

                     1.    Given the volatility of digital asset markets, the Debtors’ ability to manage

their Digital Assets is imperative to preserving and maximizing the value of the Debtors’ estates

for the benefit of all stakeholders. Accordingly, after consultation with the Committee and the Ad

Hoc Committee, the Debtors filed the Motion seeking authority to implement a comprehensive

management and monetization plan for their Digital Assets to reduce market volatility exposure

and prepare their estates for potential dollarized distributions to creditors in connection with a

chapter 11 plan. The U.S. Trustee—the sole objector to the Motion—argues that the Motion

should be denied because the Motion purportedly (i) does not comply with the disclosure

requirements of Local Rule 4001-2, (ii) does not explain why certain relief is actually necessary

to protect the Debtors’ estates and (iii) does not provide sufficient notice to all parties-in-interest.

                     2.    Prior to and since the filing of the Objection, the Debtors have been in

discussions with the U.S. Trustee regarding its issues, and the Debtors hope to reach a consensual

resolution of the Objection. However, pending such consensual resolution, the Debtors submit

that the Objection should be overruled and the Motion should be granted. First, Local Rule 4001-

2 is inapplicable to the Debtors’ request for authority to provide Credit Support in connection with

the Hedging Arrangements. Second, the Hedging Arrangements and the Credit Support related

thereto are actually necessary to preserve the value of the Debtors’ estates. Third, the U.S.

Trustee’s demand that all parties-in-interest should receive prior notice and opportunity to object

and be heard for any permanent increases to the Weekly Limit or proposed sales of Bitcoin or

Ether is commercially impractical.
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                                                   Reply

I.       The Disclosure Requirements Under Local Rule 4001-2 Are Inapplicable to the
         Hedging Arrangements.

                     3.    Local Rule 4001-2 is not applicable to the relief that the Debtors seek in the

Motion. Local Rule 4001-2 imposes certain disclosure requirements on all requests for cash

collateral and financing under sections 363 and 364 of the Bankruptcy Code. Del. Bankr. L.R.

4001-2. However, relevant case law indicates that the Local Rule is applied in instances in which

a debtor makes a request to obtain debtor-in-possession financing or to enter into similar loan

agreements. See, e.g., In re Center City Healthcare, LLC d/b/a Hahnemann University Hospital,

Case No. 19-11466 (MWF) (June 1, 2023) [D.I. 4708] (authorizing debtor to enter into a financing

agreement pursuant, in part, to Local Rule 4001-2); In re The Hertz Corp., Case No. 20-11218

(MFW) (Oct. 29, 2020) [D.I. 1661] (granting debtors’ request to obtain DIP financing pursuant, in

part, to Local Rule 4001-2).

                     4.    In comparison, courts in this District generally do not subject requests to

enter into and perform under hedging agreements and grant related credit support to the

requirements of Local Rule 4001-2. In fact, courts in this District routinely approve debtors’

proposed hedging and related credit support arrangements without reference to Local Rule 4001-

2. See, e.g., In re Extraction Oil & Gas, Inc. Case No. 20-11548 (CSS) (July 13, 2020) [D.I. 242]

(authorizing debtors to pledge collateral in the form of liens and superpriority claims to hedge

counterparties without reference to Local Rule 4001-2); In re Templar Energy LLC, Case No. 20-

11441 (BLS) (June 29, 2020) [D.I. 136] (same); In re PES Holdings, LLC, Case No. 18-10122

(KG) (Feb. 26, 2018) [D.I. 214] (same); In re Samson Res. Corp., Case No. 15-11934 (CSS) (Jan.

27, 2017) [D.I. 1939] (same).



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                     5.    The Objection misconstrues the Debtors’ intent, repeatedly referring to the

Debtors’ proposed hedging arrangements as “the DIP financing.” (Obj. at ¶¶ 14, 15, 17.) The

Debtors are not requesting authority to obtain DIP financing or enter into a similar loan agreement.

Rather, the Debtors are requesting authority to enter into and perform under investment contracts

that will involve the hedging of certain of the Debtors’ Digital Assets. Pursuant to such hedging

contracts, the Debtors would only be granting liens on or superpriority administrative status with

respect to the underlying digital asset that is being hedged pursuant to a call option sold by the

Debtors to a counterparty (i.e., assets that the Debtors would already have authority to hedge

pursuant to the proposed Order). Market participants require the underlying asset to be pledged as

collateral to ensure the hedging transaction will be completed by delivery of the underlying asset,

absent which the hedging transaction will not occur. Providing such liens or superpriority

administrative status is the general market practice in the context of hedging arrangements. (Kurtz

Decl. at ¶9.) Accordingly, the Debtors submit that Local Rule 4001-2 is not applicable to the

Debtors’ proposed hedging arrangements.

                     6.    Further, to the extent that the Court determines that Local Rule 4001-2

applies to the Motion, the Debtors request that application of Local Rule 4001-2 be waived

pursuant to section 105(a) of the Bankruptcy Code and Local Rule 1001-1(c). Section 105(a) of

the Bankruptcy Code provides that the Court may “issue any order, process, or judgment that is

necessary or appropriate to carry out the provisions of [the Bankruptcy Code].” 11 U.S.C.

§ 105(a). Further, Local Rule 1001-1(c) allows the modification of the Local Rules by the Court

in “the interest of justice.” Del. Bankr. L.R. 1001-1(c).

                     7.    There are several issues with imposing the disclosure requirements of Local

Rule 4001-2. For example, it would be prohibitively cumbersome and expensive to file the


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necessary disclosures identifying each hedging counterparty for each proposed hedging

transaction. Critically, publicly disclosing the terms of the hedging agreements, including the

specific terms of each proposed hedging transaction, would cause information leakage, inevitably

distorting the market and allowing the market to “front run” trades and harming the value of the

Debtors’ Digital Assets. Finally, the terms of each such hedging transaction are determined

immediately prior to the time the agreements are entered into. The Objection demonstrates a lack

of understanding about the manner and timing in which trading occurs. Trading in Digital Assets,

similar to stocks and bonds, are executed real time based on market quotes which can change in

fractions of seconds. If the Debtors were required to publicly disclose the terms and provide

parties-in-interest an opportunity to review and object, by the time the Debtors would be authorized

to enter into the transactions, the terms would be stale and the Debtors would never be able to

effectuate the Hedging Arrangements. Accordingly, to the extent applicable, the Debtors submit

that a waiver of the disclosure requirements of Local Rule 4001-2 is warranted and should be

granted.

II.      The Credit Support in Relation to the Hedging Arrangements is Necessary to
         Preserve the Value of the Estates.

                     8.    The Objection also asserts that the Motion fails to demonstrate that the

Credit Support in relation to the Hedging Arrangements is “actually necessary to preserve the value

of the estate.” (Obj. at ¶ 16.) However, courts have found hedging arrangements to be necessary

to preserving a debtor’s estate in industries marked by price volatility, and the granting of liens

and superpriority claims have been regarded as a necessary method of inducing counterparties to

enter into hedge agreements. See, e.g., In re Extraction Oil & Gas, Inc. Case No. 20-11548 (CSS)

(July 13, 2020) [D.I. 242] (authorizing debtors to pledge collateral in the form of liens and

superpriority claims as a method of providing necessary comfort to induce counterparties to enter

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into hedging agreements); In re Templar Energy LLC, Case No. 20-11441 (BLS) (June 29, 2020)

[D.I. 136] (same); In re PES Holdings, LLC, Case No. 18-10122 (KG) (Feb. 26, 2018) [D.I. 214]

(same); In re Samson Res. Corp., Case No. 15-11934 (CSS) (Jan. 27, 2017) [D.I. 1939] (same).

                     9.    As noted in the Motion and in the Mosley Declaration filed in support, the

digital asset markets are similarly characterized by extreme and unpredictable price movements,

and the Management and Monetization Guidelines, including the Hedging Arrangements, were

designed with the purpose of mitigating those risks. (Mot. at ¶¶ 1, 2; Mosley Decl. at ¶ 6.) Further,

as noted in the Motion and in the Kurz Declaration filed in support, it is customary market practice

for parties to hedging contracts to provide credit support to reduce counterparty credit risk (i.e.,

the risk that a counterparty to a hedging contract fails to perform its obligations). (Mot. at ¶ 44;

Kurz Decl. at ¶ 9.) The proposed Credit Support is, therefore, an integral part of the Hedging

Arrangements, without which they would not be commercially viable. As a result, the Debtors

submit that the Hedging Arrangements, and the provision of Credit Support in relation thereto, are

necessary to protecting the value of the Debtors’ estates.

III.     Limited Notice of Requests to Permanently Increase the Weekly Limit and Sell
         Certain Digital Assets Is Appropriate Pursuant to Section 105(a).

                     10.   The Objection further asserts that the Debtors should be required to publicly

notify all parties-in-interest of future requests to permanently increase the Weekly Limit on Digital

Asset sales and of future sales of Bitcoin, Ether or insider-affiliated tokens. (Obj. at ¶¶ 19, 20.)

As an initial matter, the Motion seeks Court approval of the sale procedures, and such procedures

permit the Debtors to only provide such notice to the Committee and Ad Hoc Committee. The

Debtors filed the Motion on the docket and served it on required parties, and no parties (other than

the U.S. Trustee) objected to the procedures. If parties-in-interest wanted an opportunity to receive

notice of these potential sales, their opportunity to object was now, and none did so.

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                     11.   However, to the extent the Court deems such public notice is required in

any event, the Debtors request that such requirement be waived in accordance with section 105(a)

of the Bankruptcy Code. Section 105(a) of the Bankruptcy Code provides that the Court may

“issue any order, process, or judgment that is necessary or appropriate to carry out the provisions

of [the Bankruptcy Code].” 11 U.S.C. § 105(a). In addition, the Court has authority to “enter

orders designating the matters in respect to which, the entity to whom, and the form and manner

in which notices shall be sent except as otherwise provided by [the Bankruptcy Rules].” Fed. R.

Bankr. P. 2002(m). Local Rule 1001-1(c) further allows the modification of the Local Rules by

the Court in “the interest of justice.” Del. Bankr. L.R. 1001-1(c).

                     12.   The Debtors submit that notice to all parties-in-interest and opportunity to

object and be heard for the permanent increase of the Weekly Limit and proposed sales of Bitcoin,

Ether or insider-affiliated tokens is not warranted under the circumstances. First, as noted in the

Motion and the Kurtz Declaration in support, such public notice would inevitably “tip off” the

digital asset markets, allowing sophisticated market participants to use such information to their

benefit and, necessarily, to the Debtors’ detriment. (Mot. at ¶ 25; Kurz Decl. at ¶ 5.) If parties in

the market become aware that the Debtors are going to increase their weekly sales or that the

Debtors intend to sell Bitcoin and Ether, the markets will react to the detriment of the Debtors,

since other market participants will be able to transaction before the Debtors are able to do so. The

purpose of the Management and Monetization Guidelines is to allow the Debtors, in reliance on

professional advice from their investment manager, to act immediately upon market information

which could materially benefit the estates or avoid a material loss.            Further, the Debtors’

Management and Monetization Guidelines already provide that the Committee and Ad Hoc

Committee will receive notice of, and an opportunity to object and be heard on, such requests and


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proposed sales, ensuring that the interests of creditors are protected. Accordingly, the Debtors

submit that public notice of such requests would risk significant harm to the value of the Debtors’

estates without a corresponding benefit.

                                                Conclusion

                     For the reasons stated above, the Court should overrule the Objection and grant

the Motion.


Dated: September 10, 2023                        LANDIS RATH & COBB LLP
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